






Opinion issued April 17, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00757-CV






TAMMY L. HOLMSTROM,  Appellant


V.


PEOPLES TRUST FRDERAL CREDIT UNION F/K/ A SHELL
EMPLOYEES FEDERAL CREDIT UNION,  Appellee






On Appeal from the County Civil Court at Law No. 4 

Harris County, Texas

Trial Court Cause No. 877966






MEMORANDUM OPINION	Appellant Tammy L. Holmstrom has neither established indigence, nor paid all
the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov't Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2007) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant Tammy L. Holmstrom did not adequately
respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Jennings and Bland.


